     Case 2:16-cr-00082-TS Document 696 Filed 11/15/16 PageID.4546 Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,                             MEMORANDUM DECISION AND
                                                      ORDER DENYING MOTION IN LIMINE
                         Plaintiff,                   TO EXCLUDE EVIDENCE OR
                                                      ARGUMENT THAT MEMBERS OF THE
v.                                                    FLDS CHURCH HAVE A RIGHT TO
                                                      DONATE THEIR SNAP BENEFITS TO
LYLE STEED JEFFS, et al.,                             THE FLDS STOREHOUSE

                         Defendants.                  Case No. 2:16-CR-82 TS

                                                      District Judge Ted Stewart

         This matter is before the Court on the government’s Motion in Limine to Exclude

Evidence or Argument that Members of the FLDS Church have a Right to Donate Their SNAP

Benefits to the FLDS Storehouse. For the reasons discussed below, the Court will deny the

Motion.

                                           I. BACKGROUND

         Congress created the Supplemental Nutrition Assistance Program (“SNAP”) “in order to

promote the general welfare, to safeguard the health and well-being of the Nation’s population

by raising levels of nutrition among low-income households.” 1 SNAP was authorized to “permit

low-income households to obtain a more nutritious diet through normal channels of trade by

increasing food purchasing power for all eligible households who apply for participation.” 2 To




         1
             7 U.S.C. § 2011.
         2
             Id.


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 Case 2:16-cr-00082-TS Document 696 Filed 11/15/16 PageID.4547 Page 2 of 5




accomplish this goal in most instances, eligible households are issued an allotment that is used

then to purchase eligible food from approved retail food stores. 3

       Generally, SNAP benefits may only be used by eligible households to purchase eligible

food. 4 The regulations implementing SNAP similarly state that “[p]rogram benefits may be used

only by the household . . . to purchase eligible food for the household . . . .” 5 However, there are

no specific regulations concerning whether an individual can donate foods received from their

benefits to a religious organization.

       Congress has made it a crime for anyone to knowingly use, transfer, acquire, alter, or

possess SNAP benefits “in any manner contrary to this chapter or the regulations issued pursuant

to this chapter.” 6 It is also a crime for a person to knowingly present, or cause to be presented,

SNAP benefits “knowing the same to have been received, transferred, or used in any manner in

violation of the provisions of this chapter or the regulations issued pursuant to this chapter.” 7

                                         II. DISCUSSION

       The government argues that the SNAP statutes and regulations “necessarily prevent

FLDS leaders from systematically requiring members to donate their SNAP benefits to the FLDS


       3
           Id. § 2013(a).
       4
         Id. (“The benefits so received by such households shall be used only to purchase food
from retail food stores which have been approved for participation in the supplemental nutrition
assistance program.”); id. § 2016(b) (“Benefits issued to eligible households shall be used by
them only to purchase food from retail food stores which have been approved for participation in
the supplemental nutrition assistance program at prices prevailing in such stores.”).
       5
         7 C.F.R. § 274.7(a); see also id. § 278.2(a) (“Coupons may be accepted by an
authorized retail food store only from eligible households or the households’ authorized
representative, and only in exchange for eligible food.”).
       6
           7 U.S.C. § 2024(b).
       7
           Id. § 2024(c).


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 Case 2:16-cr-00082-TS Document 696 Filed 11/15/16 PageID.4548 Page 3 of 5




Church to be used outside of the authorized households as the church leaders see fit.” 8 The

government requests “a ruling that would preclude the defendants from raising [the] argument

that donation of their benefits was allowed or authorized by the law, and ruling that the jury

should be instructed that the laws and regulations preclude the donation of SNAP benefits.” 9

The government states that its “motion is directed toward the legal issue of what the SNAP laws

and regulations require.” 10 “[T]he motion simply requests a legal determination of what the law

is, and then the parties can present evidence in the framework of the Court’s instructions about

the law.” 11

       The Court disagrees that the government’s Motion simply requests a determination of the

applicable legal standards. Rather, the government’s Motion seeks a determination that

Defendants’ alleged conduct is not authorized by the SNAP statues and regulations. Because of

the unique nature of the SNAP statutes, this determination would necessarily implicate issues

that are solely within the province of the jury.

       Defendants are charged with conspiring to violate 7 U.S.C. § 2024(b) and (c). These

provisions prohibit using, transferring, acquiring, altering, or possessing SNAP benefits “in any

manner contrary to this chapter or the regulations issued pursuant to this chapter” 12 and

presenting, or causing to be presented, SNAP benefits “knowing the same to have been received,

transferred, or used in any manner in violation of the provisions of this chapter or the regulations


       8
           Docket No. 185, at 9.
       9
           Docket No. 454, at 2.
       10
            Id. at 4.
       11
            Id.
       12
            7 U.S.C. § 2024(b).


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 Case 2:16-cr-00082-TS Document 696 Filed 11/15/16 PageID.4549 Page 4 of 5




issued pursuant to this chapter.” 13 Unlike most criminal statutes that proscribe specific conduct,

the SNAP statutes and regulations detail authorized conduct and prohibit contrary conduct.

Thus, a determination that Defendants’ alleged conduct is not authorized by the SNAP statutes

and regulations would necessarily result in a determination that Defendants’ conduct was in

violation of the law. The government has set out the relevant statutory and regulatory framework

and, from this, asks the Court to conclude that Defendants are prohibited from donating their

benefits. This is a determination for the jury, not the Court.

       The conclusion that Defendants should be allowed to present evidence that their alleged

conduct did not violate the SNAP statutes and regulations is supported by United States v.

Salazar. 14 In that case, the government presented testimonial evidence concerning what conduct

was authorized by the SNAP statutes and regulations. 15 Combining that testimony with the

relevant statutory and regulatory language, the court was able to conclude that “[n]either the

statute nor the regulations promulgated thereunder authorize the acquisition of food stamps for

cash in the manner described at trial in the present case.” 16

       The same procedure will be followed here. The Court will instruct the jury as to the

relevant statutes and regulations. The parties will be allowed to present evidence concerning

what is permitted by those statutes and regulations to assist the jury in determining whether

Defendants have acted in a manner contrary to or in violation of those provisions. The concerns

raised by the government in its Motion about such evidence encroaching on the role of either the

       13
            Id. § 2024(c).
       14
            720 F.2d 1482 (10th Cir. 1983).
       15
            Id. at 1484 n.2.
       16
            Id. at 1484.


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 Case 2:16-cr-00082-TS Document 696 Filed 11/15/16 PageID.4550 Page 5 of 5




jury or the Court can be addressed at trial or in a more narrowly tailored pretrial motion. The

Court sees no basis for the wholesale exclusion of evidence and argument on this topic.

       Even if this evidence was not relevant to determining whether a violation occurred, it

would nonetheless be relevant to determine whether any violation was done knowingly.

“[S]cienter is required for conviction under § 2024(b).” 17 The same is true for § 2024(c).

Testimony was presented at the October 6, 2016 evidentiary hearing that there is no specific

regulation addressing the donation of food obtained from the use of SNAP benefits to a religious

organization. This evidence is highly relevant to the determination of whether any alleged

violation was done knowingly. The Court will not restrict Defendants’ ability to present such

evidence. Therefore, the Court will deny the government’s Motion.

                                         III. CONCLUSION

       It is therefore

       ORDERED that the government’s Motion in Limine to Exclude Evidence or Argument

that Members of the FLDS Church have a Right to Donate Their SNAP Benefits to the FLDS

Storehouse (Docket No. 185) is DENIED.

       DATED this 15th day of November, 2016.

                                             BY THE COURT:



                                             Ted Stewart
                                             United States District Judge




       17
            Salazar, 720 F.2d at 1485.


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